                Case 4:01-cr-40057-JPG                      Document 331 Filed 10/13/05                         Page( N1O of 6 Page ID
                                                                                                                          E Identify Changes with Asterisks
-0    245C (Rev. 12103) Amended Judgmmt in a Criminal Case
           Sheet I
                                                                      #376

                                           UNITEDSTATESDISTRICTCOURT
                                                SOUTHERN                District of        ILLINOIS
UNITED STATES OF AMERICA                                                         AMENDED JUDGMENT IN A CRIMINAL CASE
v.
JON1 WIGGINS
                                                                                 Case Number:                     4:01CR40057-002-JPG

                                                                                 USM Number:                      05342-025
Date of Original Judgment:
(Or Date of Last Amended Judgment)                                                    fendant's Attorney

Reason for Amendment:
X Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                   Modification of Supervision Conditions (18 U.S.C. $8 3563(c) or 3583(e))
- Reduction of Sentence for Changed Circumstances (Fed. R.Crim.                  - Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                                 0
     P. 35@))                                                                      Compelling Reasons (18 U.S.C. 5 3582(c)(l))
0 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))
-                                                                                -
                                                                                 0 Modification of Imposed Term of Imprisonment for Retmactive Amendment
                                                                                       to the Sentencing Guidelines (18 U.S.C. 4 3582(eX2))
!Correction of Sentence for Clmical Mistake (Fed R.Crim. P. 36)
                                                                                 g Direct Motion to Disuict Court Pursuant fi 28 U.S.C. $ 2255 or
                                                                                       0 18 U.S.C. 4 3559(c)(7)
                                                                                       -
                                                                                 -
                                                                                 0 Modification of Restitution Order (18 U.S.C. 4 3664)

THE DEFENDANT:
E3 pleaded guilty to count(s)
-                                 1 of the Indictment
- pleaded nolo contendere to count(s)
    which was accepted by the court.
- was found guilty on count(s)
     after a plea of not guilty
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                                  Offense Ended                  Count
21 U.S.C. 846                   Conspiracy to Manufacture More Than 500 Grams of                                  09/30/2001                  1
                                Methamphetamine




       The defendant is sentenced as provided in pages 2                                      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                -
                                                 0 is 1are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Anomey for this district witbin 30 da s of any change of name, residen
or mailin address until all fines, restitution,,costs,and special assessments imposed by this judgmept are d y paid. If ordered to pay restitutio
the defen%nt must notify the court and Umted States attorney of material changes m econonuc cucumstances.




                                                                                 J. Phil d e r t , District Judge



                                                                                 Date /
            Case 4:01-cr-40057-JPG                    Document 331 Filed 10/13/05                       Page 2 of 6        Page ID
A 0 245C   (Rev. 12103) Amended Judgment in a Criminal Case     #377
           Sheet 2 - Imprisonment                                                                          (NOTE: Identify Changes with Asterisks (*


  DEFENDANT:                JONI WIGGINS
  CASE NUMBER:              4:01CR40057-002-JPG

                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term    135 months on Count 1 of the Indictment




  x    The conrt makes the following recommendations to the Bureau of Prisons:
       That the defendant be placed in the Intensive Drug Treatment Program




  -    The defendant is remanded to the custody of the United States Marshal,

  - The defendant shall surrender to the United States Marshal for this district:
    -
    0    at                                -
                                           0     am.     g p.m.            on

       -
       0     as notified by the United States Marshal.

  0
  -    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       0
       -     before 2 p.m on

       -
       0     as notified by the United States Marshal.

       -     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
  I have executed this judgment as follows:

                                                                                                    -        -            -           -         -




       Defendant delivered on                                                          to

  a                                                      wth a cerhiied copy of thls judgment



                                                                                                   UNITED STATES MARSHAL


                                                                         BY
                                                                                                DEPUTY UNlTED STATES MARSHAL
             Case 4:01-cr-40057-JPG                 Document 331 Filed 10/13/05                      Page 3 of 6         Page ID
                                                              #378

DEFENDANT:                JON1 WIGGINS
CASE NUMBER:              4:01CR40057-002-JPG
                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :       5 years on Count 1 of the Indictment




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release fromth
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

-    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
-    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

-    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
-    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
-    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditio
on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
       the defendant shall not leave the judicial dishict without the permission of the court or probation officer;
       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       each month;
       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       the defendant shall support his or her dependents and meet other family responsibilities;
       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
       acceptable reasons;
       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       the defendant shall refram from excesswe use of alcohol and shall not purchase, possess, use, d~smbule,or adnun~sterany
       controlled substance or any paraphemaha related to any controlled substances, except as prescnbed by a physetan.
       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       the defendant shall not associate with any rsons en aged in criminal activity and shall not associate with any person convicted of
       felony, unless granted permission to do soTy the pro%ationofficer;
       the defendant shall pemut a probat~onofficer to v ~h m
                                                            ~ ort her at any tlme at home or elsewhere and shall pemut confiscat~onof an
       contrahand obsened in pla~nvlew of the prohshon officer,
       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
       permission of the court; and
       as directed by the probation officcr, the,defendantshall notify third parties of r~sksthat may be occasioned by the defendant's cnmm
       record, personal h~story,or charactenshcs and shall pernut the probahon officer to make such notifications and confirm the defendant
       comphance wth such nohfication requuemenc.
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A 0 245C   (Rev. 12/03) Amended Judgment in a Criminal Case     #379                           (NOTE:Identify Changes with Astaisks (*
           Sheet 3C - Supervised Release
                                                                                            Judgment-Page   4
DEFENDANT:                JON1 WIGGINS
CASE NUMBER:              4:01CR40057-002-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
      The defendant shall pay any fmancial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release.
  The defendant shall provide the probation officer with access to any requested financial information.
  The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer.
  The defendant shall partlcl ate in a program of mental health treatment, as dtrected by the probat~onofficer, unt~lsuch tlm
                                ?
as the defendant is released rom the program by the probat~onofficer.
  The defendant shall articipate as directed and approved by the probation officer for treatment of narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counsel~ngandlor testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counseling.
             Case 4:01-cr-40057-JPG                    Document 331 Filed 10/13/05                     Page 5 of 6         Page ID
A 0 245C   (Rev. 12103) Amended Judgment in a Criminal Case      #380                                      (NOTE: Identify Changes with Asterisks (*
           Sheet 5 -Criminal Monetary Penalties
                                                                                                   Judgment - Page 5
DEFENDANT:                       JON1 WIGGINS
CASE NUMBER:                     4:01CR40057-002-JPG
                                            CRIMINAL, MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6
                     Assessment                                         -
                                                                        Fine                              Restitution
TOTALS           $ 100.00                                         $     100.00                          IE 0


- The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case (A0 245C) will be
     entered after such determination.

0 The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
-

    If the defendant makes a partial payment, each pa ee shall receive an approximatel
    the priority order or percentage payment column gelow, However, pursuant to 18
    before the United States is paid.
                                                                                            &!ro ortioned ayment, unless specified otherwise
                                                                                                  5 3664&, all nonfederal victims must be p

Name of Pavee                               Total Loss*                          Restitution Ordered                 Prioritv or Percentage




TOTALS                             $                                        $



-
0    Restitution amount ordered pursuant to plea agreement $

-    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

-
N    The cow! determined that the defendant does not have the ability to pay interest, and it is ordered that:

     X the interest requirement is waived for
     -                                                 N fme
                                                       -              - restitution.
     - the interest requirement for the        1 fine         - restitution is modified as follows:

*Findings for the total amount of losses are required under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or aft
September 13, 1994, but before April 23, 1996.
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            \.   - . . .-. ..,.-.....-.....                            #381
            Sheet 6 S c h e d u l e of Payments                                                             ( N O m Identify Changes with Astmisks (*
                                                                                                          - -Page 6
                                                                                                       Judgment
DEFENDANT:                     JON1 WIGGINS
CASE W E R :                   4:01CR40057-002-JPG

                                                            SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    -     Lump sumpayment of $                   200.00          due immediately, balance due

           - not later than                                          , or
           - in accordance with g                  C,      E D, g    E, or   E F below; or
B          Payment to begin immediately (may be combined with                  C,      -
                                                                                       0 D, or   g F below); or
C    -     Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                       (e.g., months or years), to commence                   (e.g,, 30 or 60 days) after the date of this judgment; or

D    g     Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    -     Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $         per month,       % of defendants monthly gross earnings,
           whichever is greater.

F    -     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud nt imposes imprisonment, pa ent of criminal monetary penalties,is due duri
the period of imprisonment. All crimmal monetary pe*,           except those payments marthrough the Federal Bureau of Pnsons' Inma
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and correspondin
     payee, if appropriate.



     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost($:
     The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                             1.
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) pena hes, and (8) costs, including cost of prosecution and court costs.
